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                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION


UNITED STATES OF AMERICA,                 )      CASE NO. 1:09CR510-8
                                          )
              PLAINTIFF,                  )      JUDGE PETER C. ECONOMUS
                                          )
       V.                                 )
                                          )
GALYNA VOLOCHIY,                          )      MEMORANDUM OPINION
                                          )      AND ORDER
              DEFENDANT.                  )


       This matter is before the Court upon Magistrate Judge Kenneth S. McHargh’s

Report and Recommendation that the Court ACCEPT Defendant Galyna Volochiy’s

(“Defendant”) plea of guilty and enter a finding of guilty against Defendant. (Dkt. #

82).

       On November 23, 2009, the Government filed an Indictment against

Defendant. (Dkt. # 12). On January 26, 2010, this Court issued an order assigning

this case to Magistrate Judge McHargh for the purpose of arraignment and receiving

Defendant’s guilty plea. (Dkt. # 77).

       On January 27, 2010, a hearing was held in which Defendant entered a plea

of guilty to Count One of the Indictment, conspiracy to unlawfully produce

identification documents and false identification documents, in violation of 18

U.S.C. § 1028(f), 18 U.S.C. § 1028(b)(1)(A)(ii), and 18 U.S.C. § 1028(b)(1)(B).

Magistrate Judge McHargh received Defendant’s guilty plea and issued a Report
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and Recommendation (“R&R”) recommending that this Court accept the plea and

enter a finding of guilty. (Dkt. # 82).

       Neither party objected to Magistrate Judge McHargh’s R&R in the fourteen

(14) days after it was issued.

       On de novo review of the record, Magistrate Judge McHargh’s R&R is

adopted. The Defendant was found to be competent to enter a plea. The Defendant

understood her constitutional rights. She is aware of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds that the plea

was entered knowingly, intelligently, and voluntarily. The Defendant’s plea of

guilty is approved.

       Therefore, the Defendant is adjudged guilty of violating 18 U.S.C. § 1028(f),

18 U.S.C. § 1028(b)(1)(A)(ii), and 18 U.S.C. § 1028(b)(1)(B). The sentencing will

be held on May 12, 2010, at 10:00 a.m.

       IT IS SO ORDERED.

                                    /s/ Peter C. Economus - February 18, 2010
                                    PETER C. ECONOMUS
                                    UNITED STATES DISTRICT JUDGE
